         Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 1 of 17




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                        §
                                              §
NORTHSTAR OFFSHORE                            § Case No. 16-34028
GROUP, LLC,                                   §
                                              § (Chapter 11)
                      DEBTOR.                 §

         DEBTOR’S OBJECTION TO THE AMENDED APPLICATION FOR
     ALLOWANCE AND PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM OF
                        MEDCO ENERGI US LLC

                                   [Related to ECF No. 1342]

TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE:

         Northstar Offshore Group, LLC (the “Debtor”) and the Litigation Trust for Northstar

Offshore Group, LLC (together with the Debtor, “Northstar”) file this Debtor’s Objection to the

Amended Application for Allowance and Payment of Administrative Expense Claim of Medco

Energi US LLC (the “Objection”) and in support thereof respectfully represent as follows:

                                       BACKGROUND

A.       The Chapter 11 Case

         1.    On August 12, 2016 (the “Involuntary Petition Date”), Alliance Offshore, LLC,

Alliance Energy Services, LLC, and Montco Oilfield Contractors, LLC filed an involuntary

petition for relief against the Debtor under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). ECF No. 1.

         2.    On December 2, 2016, the Debtor agreed to convert the involuntary case to a

voluntary case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

ECF No. 88.




                                                1
      Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 2 of 17




       3.      The Debtor previously operated as an oil and gas exploration and production

company.     On August 2, 2017, the Court entered an Order (I) Approving the Sale of

Substantially All of the Debtor’s Assets Free and Clear of Claims, Liens, Interests and

Encumbrances; (II) Approving the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; and (III) Granting Related Relief (the “Sale Order”). ECF No. 792.

       4.      On August 3, 2017, pursuant to the Sale Order, the Debtor sold substantially all of

its assets free and clear to Northstar Offshore Ventures LLC (“NOV”). ECF Nos. 792 and 800.

       5.      On September 11, 2017, the Court entered an order authorizing the Debtor to

reject its executory contracts and unexpired leases related to the remaining property that was not

sold to NOV (the “Rejection Order”). ECF No. 846.

       6.      On December 22, 2017, the Bankruptcy Court entered an order confirming the

Debtor’s Second Amended Plan of Liquidation Under Chapter 11 of the Bankruptcy Code (the

“Plan”). ECF No. 1078, Exh. B.

       7.      On January 19, 2018, the effective date (the “Effective Date”) of the Plan

occurred. ECF No. 1092.

B.     The Claims Bar Date

       8.      On December 6, 2016, the Court entered an Order Granting Complex Chapter 11

Bankruptcy Case Treatment and Setting Bar Date for Proofs of Claim (the “Bar Date Order”).

ECF No. 131. Pursuant to the Bar Date Order, the Court established (a) March 1, 2017 as the

deadline by which proofs of claim were required to be filed by holders of claims other than

governmental units (the “Bar Date”); and (b) May 31, 2017 as the deadline by which proofs of

claim were required to be filed by governmental units (the “Government Bar Date”).




                                                2
          Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 3 of 17




           9.       In addition, the Plan established an Administrative Expense Claims Bar Date1 of

February 18, 2018, and a bar date for Administrative Expense Claim Objections and other Claim

Objections of April 19, 2018.

           10.      James Katchadurian of CR3 Partners, LLC (the “Litigation Trustee”) was

approved under the Plan to oversee the implementation of the Plan and the liquidation of the

Debtor’s estate, including the filing of claim objections.

           11.      On April 2, 2018, the Debtor moved to extend the deadline for objecting to all

proofs of claim (the “Claim Objection Deadline”), and on April 10, 2018, the Court entered an

order extending the Claims Objection Deadline from April 19, 2018 to July 18, 2018, without

prejudice to the Debtor’s ability to seek further extensions.                      ECF Nos. 1154 and 1185.

Thereafter, the Debtor sought and obtained orders further extending the Claims Objection

Deadline from July 18, 2018 until October 31, 2018, from October 31, 2018 until March 31,

2018, and from March 31, 2019 until September 30, 2019. ECF Nos. 1239, 1300, and 1340.

C.         The Medco Prepetition Contracts

           12.      Prior to the Involuntary Petition Date, the Debtor and Medco Energi US LLC

(“Medco”) co-owned operating rights in certain oil and gas leases located on the Gulf of Mexico

Outer Continental Shelf (the “OCS”) known as East Cameron Block 317 (the “EC 317 Lease”)

and East Cameron Block 318 (the “EC 318 Lease,” and together with the EC 317 Lease, the “EC

Leases”). The parties’ rights and interests in the EC Leases were conveyed by the U.S. Bureau

of Ocean Energy Management (“BOEM”), which also established provisions governing the

parties’ operating activities on the leases.              The U.S. Bureau of Safety and Environmental




1
    Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to them in the Plan.



                                                           3
       Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 4 of 17




Enforcement (“BSEE”) regulates the decommissioning activities required under the EC Leases

pursuant to the myriad regulations codified in Title 30 of the Code of Federal Regulations.

        13.      The Debtor owned a 25% working interest in each of the EC Leases and Medco

owned a 75% working interest in each of the EC Leases. Medco was the designated operator of

each lease. In connection with the EC Leases, the Debtor and Medco were parties to the

following agreements:

                 a.    Offshore Operating Agreement effective August 27, 2004, between Novus
                       Louisiana LLC and Darcy Energy, Ltd.;

                 b.    First Amended and Restated Offshore Operating Agreement between Medco
                       Energi US LLC and Leed Petroleum LLC, effective April 1, 2008, whereby
                       the parties “amend and restate the Original Agreement” (Offshore Operating
                       Agreement dated August 27, 2004) and reflect further amendments as well;
                       and

                 c.    First Amendment to and Ratification of Memorandum of Operating
                       Agreement and Financing Statement, effective May 17, 2011 by and
                       between Medco Energi US LLC and Marlin GOM I, L.L.C. recorded in
                       Cameron Parish under File No. 323030 in the Conveyance and Mortgage
                       Books.

        14.      On or about April 13, 2012, the EC 318 Lease terminated due to non-production

and the wells located on the lease were subsequently plugged and abandoned. Medco was

granted a Right of Use and Easement (the “EC 318 RUE”) for the platform located on the EC

318 Lease. The last day of production from the EC 317 Lease was on or about August 1, 2016

and the lease expired due to non-production on February 27, 2017.

        15.      Effective August 18, 2017 (the “Rejection Date”), the Debtor rejected the EC

Leases because the costs associated with the leases were greater than the profits attributable to

those properties, and therefore, did not benefit the estate.2 See ECF Nos. 828 and 846.


2 On July 12, 2017, the Debtor and Medco filed an Amended Joint Motion to Assume Executory Contract and
Modify Stay to Permit Setoff (the “Main Pass/East Cameron Joint Motion”) related to the EC Leases and, separate
leases known as Main Pass Blocks 64 and 65. See ECF No. 682. Pursuant to the Main Pass/East Cameron Joint


                                                      4
       Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 5 of 17




D.      Medco’s Application for Administrative Expense Claim

        16.      On March 1, 2017, Medco filed its original proof of claim, Claim No. 143.

Thereafter, on January 31, 2018, Medco filed Claim No. 213, which amended and superseded

Claim No. 143. Accordingly, Claim No. 143 was disallowed and expunged as an amended and

superseded claim, and Claim No. 213 remained as the surviving claim. ECF No. 1140. Claim

No. 213 asserted a priority claim for an estimated $1,650,000.00, or 25% of the actual

decommissioning costs for the EC Leases. Claim No. 213 noted that Medco had obtained BSEE

approval for the decommissioning work for the EC Leases, but “Medco intends to request and

extension from BSEE to perform the EC 317 and 318 field decommissioning project in the late

spring or early summer of 2018.” Claim No. 213 at ¶ 30.

        17.      On May 1, 2019, Medco filed its Amended Application for Allowance and

Payment of Administrative Expense Claim of Medco Energi US LLC (the “Medco Claim”)

seeking allowance of an administrative expense claim equal to $1,512,305.00, plus interest, for

the Debtor’s 25% proportional share of the decommissioning costs attributable to the EC 317

Lease and the EC 318 Lease.

                                                OBJECTION

A.      Claims Asserting Section 503(b)(1) Administrative Expense Priority Status Must Be
        Narrowly Construed

        18.      Section 503(a) of the Bankruptcy Code permits entities to timely file a request for

payment of administrative expenses. 11 U.S.C. § 503(a). Following proper notice and a hearing

on such request, “there shall be allowed administrative expenses, . . . including . . . the actual,

Motion, the parties agreed that the Debtor would assume the operating agreement related to Main Pass Blocks 64
and 65, but not the operating agreement related to the EC Leases. See id. In addition, the parties agreed that the
Debtor would seek modification of the automatic stay to permit Medco to offset amounts due the Debtor against
amounts due Medco under the operating agreement related to the EC Leases. Id. ¶ 17. The Court granted the Main
Pass/East Cameron Joint Motion on August 1, 2017. ECF No. 784. Accordingly, when the Debtor later rejected the
EC Leases, it was subject to the Court’s order on the Main Pass/East Cameron Joint Motion.



                                                        5
      Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 6 of 17




necessary costs and expenses of preserving the estate. . . .” 11 U.S.C. § 503(b)(1)(A). If an

administrative expense is allowed pursuant to section 503(b)(1)(A), such expense is afforded

second priority over other debts pursuant to section 507(a) of the Bankruptcy Code. See 11

U.S.C. § 507.

       19.      In analyzing the statutory requirements imposed by section 503 of the Bankruptcy

Code, the Fifth Circuit has held: “[i]n order to qualify as an ‘actual and necessary cost’ under

section 503(b)(1)(A), a claim against the estate must have arisen post-petition and as a result of

actions taken by the trustee that benefitted the estate.” In re Jack/Wade Drilling, Inc., 258 F.3d

385, 387 (5th Cir. 2001) (citing Toma Steel Supply, Inc. v. TransAmerican Natural Gas Corp. (In

re TransAmerican Natural Gas Corp.), 978 F.2d 1409, 1416 (5th Cir. 1992), which held that a

“prima facie case under § 503(b)(1) may be established by evidence that (1) the claim arises

from a transaction with the debtor-in-possession; and (2) the goods or services supplied

enhanced the ability of the debtor-in- possession’s business to function”). Accordingly, claims

arising from a prepetition right to payment do not qualify as administrative expense priority

claims. See Chiasson v. J. Louis Matherne & Assocs. (In the Matter of Oxford Mgmt. Inc.), 4

F.3d 1329, 1335 n.7 (5th Cir. 1993) (“If a right to payment becomes vested prior to

commencement of the bankruptcy case, the claim becomes a pre-petition claim.”).

       20.      Courts have held that section 503 priorities are to be construed narrowly “because

of the presumption that the debtor has limited resources to equally distribute among creditors.”

In re Kmart Corp., 290 B.R. 614, 621 (Bankr. N.D. Ill. 2003) (citing In re Amarex, 853 F.2d

1526, 1530 (10th Cir. 1988); see also In re Mammoth Mart, Inc., 536 F.2d 950, 953 (1st Cir.

1976) (“To give priority to a claimant not clearly entitled thereto is inconsistent with the policy

of equality of distribution; it dilutes the value of the priority for those creditors Congress




                                                6
      Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 7 of 17




intended to prefer.”); Burlington Northern R.R. Co. v. Dant & Russell, Inc. (In re Dant &

Russell, Inc.), 853 F.2d 700, 706 (9th Cir. 1988) (“The terms ‘actual’ and ‘necessary’ are

construed narrowly so as ‘to keep fees and administrative costs at a minimum’”) (internal

citations omitted). The claimant has the burden of establishing whether an expense is entitled to

administrative priority. Kmart, 290 B.R. at 621.

       21.     Medco has failed to establish that the asserted $1,512,305.00 in decommissioning

costs is entitled to administrative expense priority. Accordingly, the Medco Claim should not be

allowed as an administrative expense under section 503(b)(1) of the Bankruptcy Code.

B.     Medco Cannot Incur an Administrative Expense for Decommissioning Leases that
       Were Not Property of the Estate

       22.     Medco asserts that its decommissioning costs for the EC Leases constitute

administrative expenses under section 503(b)(1)(A) of the Bankruptcy Code, even though the

costs were incurred after the Debtor rejected the EC Leases. Medco Claim at ¶¶ 46-47. In

support of its argument, Medco relies on the Fifth Circuit’s holding in State of Tex. v. Lowe (In

re H.L.S. Energy Co., Inc.), 151 F.3d 434, 436 (5th Cir. 1998) and this Court’s holding in In re

Am. Coastal Energy Inc., 399 B.R. 805 (Bankr. S.D. Tex. 2009). Medco’s reliance on these

cases is misplaced.

       23.     In H.L.S. Energy, the debtor’s obligation to decommission inactive wells arose

postpetition and the bankruptcy estate did not have sufficient funds to pay the decommissioning

costs. The trustee and the State of Texas agreed that the State would plug the wells and charge

the costs to the bankruptcy estate. When the State asserted an administrative expense claim, the

trustee objected, arguing that the claim was not entitled to administrative expense status. The

Fifth Circuit held that the State’s claim was entitled to administrative expense priority because

the obligation to plug the wells arose postpetition and the trustee was required to operate the



                                               7
      Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 8 of 17




bankruptcy estate in accordance with state law, which required the wells to be plugged. In re

H.L.S. Energy, 151 F.3d at 438. The court further reasoned that expenses incurred to comply

with state law were actual and necessary costs of managing and preserving the estate. Id.

       24.     In Am. Coastal, the debtor owned and operated eight wells that became inactive

prior to its bankruptcy filing. The Texas Railroad Commission plugged the wells, and sought

reimbursement from the debtor as an administrative expense claim. Citing federal and state law,

the debtor argued that, because the liability arose prepetition, the plugging expense did not

qualify as an administrative expense, but rather, was a general, unsecured claim. The Court

rejected the debtor’s argument and held that the Texas Railroad Commission’s claims were

administrative expense claims because the expenses benefitted the estate by remedying

violations of environmental and safety laws, regardless of whether the liability for the violation

first occurred prepetition or postpetition. In re Am. Coastal, 399 B.R. at 811.

       25.     As an initial matter, in both H.L.S. Energy and Am. Coastal the administrative

expense claim was asserted by a state agency burdened with the costs of cleaning up the debtor’s

environmental obligations, rather than a private party such as Medco. Indeed, the Am. Coastal

Court made it clear that “its analysis is limited to environmental remediation claims made by a

governmental unit for postpetition remediation.” In re Am. Coastal, 399 B.R. at 817, n.4.

       26.     More importantly, in both H.L.S. Energy and Am. Coastal, the debtor continued to

have an ownership and/or operating interest in the wells when the plugging costs were incurred.

This ownership interest was central to each court’s determination that the plugging expenses

were actual and necessary in light of the debtors’ continuing postpetition duty under state law to

plug the wells. In reaching this determination, the H.L.S. Energy and Am. Coastal courts relied

on the statutory language in 28 U.S.C. § 959(b) requiring a debtor-in-possession to “manage and




                                                 8
      Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 9 of 17




operate the property in his possession” in accordance with state laws. See In re H.L.S. Energy,

151 F.3d at 438; In re Am. Coastal, 399 B.R. at 810-12. Notably, however, these cases only

require a debtor to incur administrative expenses for decommissioning costs related to property

in the debtor’s possession.   In other words, only those decommissioning costs incurred in

connection with property in which the Debtor has an interest can qualify as an administrative

expense. As the Am. Coastal court noted:

               Opinions that have denied administrative expense characterization of
               postpetition expenditures to remediate pre-petition environmental
               liabilities involved expenditures on property that was no longer property
               of the bankruptcy estate. In re Dant & Russell, Inc., 853 F.2d 700, 709
               (9th Cir.1988) (“Kovacs and Johnson Bronze are significant in that they
               involved assertions of administrative expense priority by a lessor for
               cleanup costs resulting from property not owned by the bankruptcy
               estate”). See also Ohio v. Kovacs, 469 U.S. 274, 105 S.Ct. 705, 83
               L.Ed.2d 649 (1985); Southern Ry. Co. v. Johnson Bronze Co., 758 F.2d
               137, 141 (3d Cir.1985). Since the property was no longer estate property,
               the expenditure was not necessary to preserve the estate.

In re Am. Coastal, 399 B.R. 805, n.4. Other courts have reached similar conclusions. See, e.g.,

In re McCrory Corp, 188 B.R. 763, 769-70 (Bankr. S.D.N.Y. 1995) (holding that a debtor had

appropriately abandoned a leasehold interest by rejection of the relevant lease, that such

leasehold interest was no longer property of the estate, and that any postpetition cleanup costs

would not benefit the estate); In re Insilco Techs., Inc., 309 B.R. 111, 115 (Bankr. D. Del. 2004)

(“In general, only those costs incurred to cleanup property for which an estate has an interest in

or owns may qualify as administrative expenses.”); In re Mahoney-Troast Constr. Co., 189 B.R.

57, 62 (Bankr. D.N.J. 1995) (“Finally, as the trustee points out, the debtor did not own the

property and cleanup was effected almost two years after the lease was rejected and the trustee

returned the property.”). Indeed, the rationale behind these holdings is that the estate does not

benefit from remediation costs incurred postpetition once the property in question is no longer

property of the estate.


                                                9
     Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 10 of 17




       27.     Here, the Debtor rejected its interests in the EC Leases effective August 18, 2017,

and, as a result, the leases were no longer property of the estate. Medco has presented no

evidence suggesting that the Debtor continued to use the EC Leases following the Rejection

Date. As such, Medco’s environmental expenses incurred in connection with the Debtor’s

prepetition ownership of the EC Leases are not administrative expenses. Rather, the Medco’s

claim for decommissioning property that did not belong to the estate is entitled to no more than

general unsecured claim status. See, e.g., In re McCrory Corp, 188 B.R. at 765; Johnson Bronze

Co., 758 F.2d at 141.

       28.     Moreover, nothing in the Medco Claim suggests that Medco undertook any

decommissioning work on the EC Leases between the Petition Date and the August 18, 2017

Rejection Date. Medco was required to submit decommissioning applications to BSEE and

receive approval of those applications before beginning any decommissioning work on the EC

Leases. 30 C.F.R. §§ 250.1703, 250.1704. According to Medco, it submitted five separate

decommissioning applications to BSEE for approval. Medco Claim at ¶ 28. Three of the five

applications were approved after the Rejection Date, and one was approved after the January 18,

2018 Effective Date when the Debtor’s bankruptcy estate no longer existed. Medco Claim at

¶ 29 (stating that the final four applications to decommission were approved on August 31, 2017,

October 6, 2017, December 27, 2017 and January 24, 2018).                The one application to

decommission that was approved before the Rejection Date was approved on July 31, 2017, just

18 days before the Rejection Date. There is no evidence in the Medco Claim (or otherwise) that

Medco undertook any decommissioning work during such 18-day period. As such, Medco’s

decommissioning costs could not have been actual and necessary costs that benefitted the estate

since the costs were incurred in connection with property that was not part of the Debtor’s estate.




                                                10
     Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 11 of 17




C.     The Costs Associated with Decommissioning the EC 318 Lease are Prepetition
       Expenses

       29.    In addition to the foregoing basis for denying the Medco Claim, there is yet

another basis for denying administrative expense priority status to the portion of the Medco

Claim attributable to the EC 318 Lease. Although the EC 318 Lease terminated prepetition,

Medco asserts that because of the EC 318 RUE, the obligation to decommission the platform on

the EC 318 Lease did not become due until the EC 317 Lease expired during the postpetition

period (i.e., on February 27, 2017). Medco Claim at ¶¶ 22, 39. Medco further asserts that its

expenditures for decommissioning the platform on the EC 318 Lease qualify as administrative

expenses of the estate. However, Medco cites no authority for its position, and the applicable

regulations do not support Medco’s arguments.

       30.    Under applicable laws and regulations, all prior and current interest holders in an

OCS lease are jointly and severally liable to BOEM and BSEE for the decommissioning

obligations related to a lease. 30 C.F.R §§ 250.146, 250.1701. In particular, 30 C.F.R. §

250.1701 provides that:

               (a) Lessees and owners of operating rights are jointly and severally
       responsible for meeting decommissioning obligations for facilities on leases,
       including the obligations related to lease-term pipelines, as the obligations accrue
       and until each obligation is met.

               (b) All holders of a right-of-way are jointly and severally liable for
       meeting decommissioning obligations for facilities on their right-of-way,
       including right-of-way pipelines, as the obligations accrue and until each
       obligation is met.

               (c) In this subpart, the terms “you” or “I” refer to lessees and owners of
       operating rights, as to facilities installed under the authority of a lease, and to
       right-of-way holders as to facilities installed under the authority of a right-of-way.

       31.    The term “decommissioning” is defined as:

              (1) Ending oil, gas, or sulphur operations; and



                                                11
     Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 12 of 17




              (2) Returning the lease or pipeline right-of-way to a condition that meets
       the requirements of regulations of BSEE and other agencies that have jurisdiction
       over decommissioning activities.

30 C.F.R § 250.1700. Decommissioning obligations include permanently plugging all wells on

the lease, removing all platforms and other facilities, decommissioning all pipelines, and clearing

the seafloor of all obstructions created by the lease. 30 C.F.R § 250.1703. In particular, wells

must be plugged and abandoned within one year after the lease terminates. 30 C.F.R § 250.1710.

In addition, the platforms and other facilities must be removed and the site must be remediated

within one year after the lease terminates. 30 C.F.R § 250.1725.

       32.     The obligation to decommission an OCS lease first occurs when the owner and/or

operator:

               (a) Drills a well;

               (b) Installs a platform, pipeline or other facility;

               (c) Creates an obstruction to other users of the OCS;

              (d) Are or becomes a lessee or the owner of operating rights of a lease on
       which there is a well that has not been permanently plugged according to this
       subpart, a platform, a lease term pipeline, or other facility or an obstruction;

               (e) Are or becomes the holder of a pipeline right-of-way on which there is
       a pipeline, platform, or other facility, or an obstruction; or

               (f) Re-enters a well that was previously plugged according to this subpart.

30 C.F.R § 250.1702.

       33.     Here, the EC 318 Lease terminated in 2012 and, pursuant to 30 C.F.R.

§ 250.1710, the wells on the lease were plugged and abandoned in 2013. Similarly, 30 C.F.R.

§ 250.1725 imposed a requirement to decommission the facilities on the lease and remediate the

site within one year after the lease terminated. The Debtor and Medco became obligated to

perform these decommissioning obligations related to the EC 318 Lease when they first became




                                                  12
      Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 13 of 17




parties to the lease, which occurred during the prepetition period. Nothing in the regulations or

other applicable laws suggests that the EC 318 RUE tolled the decommissioning obligations for

the platform on the EC 318 Lease until the EC 317 Lease terminated.            Accordingly, the

decommissioning obligations related to the EC 318 Lease were prepetition obligations and any

claims arising from Medco’s satisfaction of such prepetition decommissioning obligations

constitute prepetition claims against the estate.

D.     Medco Cannot Subrogate to an Administrative Priority Claim Where No Such
       Administrative Priority Claim Exists

       34.     Medco further argues that Louisiana law permits an independent basis for

recovering its decommissioning costs as an administrative priority claim because it is subrogated

to the claim and priority afforded BSEE to the extent that it has paid BSEE for the Debtor’s

proportional share of the decommissioning obligations.       Medco Claim at ¶ 43.       Medco’s

argument fails, however, because (as discussed above) the Debtor’s ownership interest in the EC

Leases ceased to exist once the leases were rejected on August 18, 2017. Any decommissioning

expenses incurred by a party following the Rejection Date—whether incurred by a governmental

entity or private party—would not qualify as an administrative expense. Accordingly, because

there is no administrative expense claim to which Medco can subrogate, the Medco Claim cannot

be allowed as an administrative expense of the estate.

       35.     Moreover, neither of the bankruptcy court decisions on which Medco relies

considered whether subrogation rights existed as a matter of law. In In re Tri-Union Dev. Corp.,

314 B.R. 611, 622-23 (Bankr. S.D. Tex. 2004), the “parties agree[d] that payment by the

Respondents to the MMS to satisfy the P&A Obligations subrogates the paying parties to the

MMS’s claim and priority for the amounts funded,” 314 B.R. at 622 (emphasis added). In In re

ATP Oil & Gas Corp., 2014 WL 1047818 (Bankr. S.D. Tex. 2014), subrogation was not at issue.



                                                    13
     Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 14 of 17




Accordingly, Medco has no subrogation rights and is not entitled to an administrative expense

claim as a subrogee.

                                         CONCLUSION

       36.       Medco has failed to carry its burden of demonstrating that its decommissioning

costs qualify as administrative expenses under section 503(b)(1)(A) of the Bankruptcy Code.

For the reasons set forth above, the Debtor requests that the Court enter an order, substantially in

the form annexed hereto as Exhibit A, denying Medco’s request for an administrative expense

claim, and granting such other and further relief as is just and appropriate under the

circumstances.

Dated: May 22, 2019


                                              Respectfully submitted,

                                              PROTOPAPAS PLLC

                                              /s/
                                              Lydia T. Protopapas
                                              Texas Bar No. 00797267
                                              Southern Dist. of Texas Bar No. 21378
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                                              Telephone: (832) 495-1086
                                              Counsel for Northstar Offshore Group, LLC and the
                                              Litigation Trust for Northstar Offshore Group, LLC




                                                14
     Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 15 of 17




                              CERTIFICATE OF SERVICE


       I, Renee Wells, hereby certify that, on May 22, 2019, a true and correct copy of the

foregoing Debtor’s Objection to the Amended Application for Allowance and Payment of

Administrative Expense Claim of Medco Energi US LLC was served (1) to Michael D.

Rubenstein, counsel to the Medco Energi US LLC, via electronic mail, and (2) all counsel of

record who are deemed to have consented to electronic service via the Court’s CM/ECF system.



                                                  /s/ Renee Wells
                                                  Renee Wells
Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 16 of 17




                             Exhibit A

                       Proposed Form of Order
       Case 16-34028 Document 1346 Filed in TXSB on 05/22/19 Page 17 of 17




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                          §
                                                §
NORTHSTAR OFFSHORE                              § Case No. 16-34028
GROUP, LLC,                                     §
                                                § (Chapter 11)
                       DEBTOR.                  §

      ORDER DENYING THE AMENDED APPLICATION FOR ALLOWANCE AND
    PAYMENT OF ADMINISTRATIVE EXPENSE CLAIM OF MEDCO ENERGI US LLC

                                    [Related to ECF No. 1342]

         Upon the Amended Application for Allowance and Payment of Administrative Expense

Claim of Medco Energi US LLC [ECF No. 1342] (the “Amended Application”)1 filed by Medco

Energi US LLC (“Medco”) for allowance and payment of an administrative expense claim

against Northstar Offshore Group, LLC, pursuant to Section 503(b)(1) of the Bankruptcy Code;

and the Court having reviewed the Amended Application and the objections thereto; and upon

the pleadings filed with the Court, the evidence presented at the hearing before the Court, and the

entire record herein; and after due deliberation thereon; it is hereby

         ORDERED, ADJUDGED, AND DECREED that

         1.    The relief sought in the Amended Application is denied.

         2.    This Court shall retain jurisdiction over Medco and the Debtor with respect to any

matters related to or arising from the implementation of this Order.

Dated:                 , 2019



                                               HON. MARVIN ISGUR
                                               UNITED STATES BANKRUPTCY JUDGE

1
 Capitalized terms used but not defined herein have the meanings ascribed to such terms in the Amended
Application.
